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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA

WASHINGTON COUNTY, VIRGINIA,
a political subdivision of the
Commonwealth of Virginia,

County Administration Building

205 Academy Drive

Abingdon, Virginia, 24210

Plaintiff,
Vv.
Civil Action No. 1:08-cv-O1112

RMU-ESH-JRB
(three-judge court)

Attorney General of the

United States of America,

GRACE CHUNG BECKER,
Acting Assistant Attorney General,
Civil Rights Division,

United States Department of Justice,
Washington, DC, 20530

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MICHAEL B. MUKASEY )
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Defendants. )
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CONSENT JUDGMENT AND DECREE

This action was initiated by Washington County, Virginia, a political subdivision
of the Commonwealth of Virginia (hereafter “the County”). The County is subject to the
provisions of Section 5 of the Voting Rights Act of 1965, as amended, 42 U.S.C. §
1973(c). The County seeks a declaratory judgment under Section 4 of the Voting Rights
Act of 1965, as amended, 42 U.S.C. § 1973(b). A three-judge court has been convened as
provided in 42 U.S.C. § 1973(b)(a)(5) and 28 U.S.C. § 2284.

Section 4(a) of the Voting Rights Act provides that a state or political subdivision
subject to the special provisions of the Act may be exempted from those provisions if it

can demonstrate in an action for a declaratory judgment before the United States
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District Court for the District of Columbia that for the ten-year period prior to filing the
action and during its pendency, it has both 1) complied with the Voting Rights Act, and
2) taken positive steps both to encourage minority political participation and to remove
structural barriers to minority electoral influence. In order to demonstrate compliance
with the Voting Rights Act during the ten-year period prior to commencement of a
declaratory judgment action under Section 4(a), the County must satisfy five conditions:

1) the County has not used any test or device during that

ten-year period for the purpose or with the effect of denying or
abridging the right to vote on account of race or color;

2) no court of the United States has issued a final judgment
during that ten-year period that the right to vote has been

denied or abridged on account of race or color within the

territory of the County, and no consent decree, settlement or
agreement may have been entered into during that ten-year period
that resulted in the abandonment of a voting practice challenged
on such grounds; and no such claims may be pending at the time
the declaratory judgment action is commenced;

3) no Federal examiners have been assigned to the County
pursuant to the Voting Rights Act during the ten-year period
preceding commencement of the declaratory judgment action;

4) the County and all governmental units within its

territory must have complied with Section 5 of the Voting Rights
Act, 42 U.S.C. § 1973(c), during that ten-year period, including the
requirement that voting changes covered under Section 5 not be
enforced without Section 5 preclearance, and that all voting
changes denied Section 5 preclearance by the Attorney General or
the District Court for the District of Columbia have been
repealed; and

5) neither the Attorney General nor the District Court for

the District of Columbia have denied Section 5 preclearance to a
submission by the County or any governmental unit within its
territory during that ten-year period, nor may any Section 5
submissions or declaratory judgment actions be pending. 42
U.S.C. § 1973(b)(a)(1 )(A-E).

In addition, to obtain the declaratory judgment, the County and all governmental
units within its territory must have: 1) eliminated voting procedures and methods of

election that inhibit or dilute equal access to the electoral process, 42 U.S.C.

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§ 1973(b)(a)(1 )(F)(G); and 2) engaged in constructive efforts to eliminate intimidation

or harassment of persons exercising voting rights, and to expand the opportunity for
convenient registration and voting for every person of voting age, and the appointment of
minority persons as election officials throughout the jurisdiction and at all stages of the
required to present evidence of minority participation in the electoral process, including
the levels of minority group registration and voting, changes in such levels over time, and
disparities between minority group and non-minority group participation. 42 U.S.C. §
1973(b)(a)(2). In the ten years preceding bailout, the County must not have engaged in
violations of any provision of the Constitution or laws of the United States or any State or
political subdivision with respect to discrimination 1n voting on account of race or color.
42 U.S.C. § 1973(b)(a)(3). Finally, the County must provide public notice of its intent to
seek a Section 4(a) declaratory judgment. 42 U.S.C. § 1973(b)(a)(4).

The Defendants Attorney General and Acting Assistant Attorney General, after
investigation, have agreed that the Plaintiff has fulfilled all conditions required by
Section 4(a) and is entitled to the requested declaratory judgment. The parties have filed
a Joint Motion, accompanied by a Stipulation of Facts, in support of entry of this Consent
Judgment and Decree.

FINDINGS
Pursuant to the parties’ Stipulation of Facts and Joint Motion, this Court finds as

follows:
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1. The County is a political subdivision of the Commonwealth of Virginia, and a
political subdivision of a state within the meaning of Section 4(a) of the Voting
Rights Act, 42 U.S.C. § 1973(b)(a)(1).

2. The Washington County Board of Supervisors is the governing body that
formulates policies for the administration of government in Washington
County. It is comprised of seven Supervisors elected from single-member
districts to serve four-year terms. The chief administrative officer of the
County government, the County Administrator, is appointed by and serves at
the pleasure of the Washington County Board of Supervisors. The general day
to day operations of Washington County are controlled by the Office of the
County Administrator. The Washington County School Board is comprised
of seven members and is elected from the same single-member districts as are
members of the Board of Supervisors.

3. In addition to the County itself, located within Washington County are the
Towns of Abingdon, Damascus, and Glade Spring. Residents of the Towns
are eligible to participate in town elections and in County elections. The
Towns are governed by their respective Town Councils. The Town of
Abingdon has a five-member Town Council elected at-large. The Towns of
Damascus and Glade Spring have seven-member Town Councils and each
Town Council is elected at-large.

4, The County was designated as a jurisdiction subject to the special provisions
of the Voting Rights Act on the basis of the determinations made by the

Attorney General that Virginia maintained a “test or device” as defined by
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section 4(b) of the Act, 42 U.S.C. § 1973b(b), on November 1, 1964, and by
the Director of the Census that fewer than 50 percent of the persons of voting
age residing in the state voted in the 1964 presidential election.

5. No discriminatory test or device has been used by the County during the ten
years prior to the commencement of this action for the purpose or with the
effect of denying or abridging the right to vote on account of race or color.

6. There is no evidence that any person in the County has been denied the right to
vote on account of race or color during the past ten years.

7. No court of the United States has issued a final judgment during the last ten
years prior to the commencement of this action that the right to vote has been
denied or abridged on account of race or color in Washington County, and no
consent decree, settlement, or agreement has been entered into resulting in any
abandonment of a voting practice challenged on such grounds during that time.
No such claims presently are pending or were pending at the time this action
was filed.

8. No Federal Examiners or Observers have been assigned to the County within
the ten-year period preceding this action.

9. The County has not enforced any voting changes prior to receiving Section 5
preclearance during the ten-year period preceding this action.

10. All voting changes submitted by the County under Section 5 of the Voting
Rights Act, 42 U.S.C. § 1973(c), have been precleared by the Attorney

General. No Section 5 submissions by the County are pending before the
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Attorney General. The County has never sought Section 5 judicial
preclearance from this Court.

11. No voting practices or procedures have been abandoned by the County or
challenged on the grounds that such practices or procedures would have either
the purpose or the effect of denying the right to vote on account of race or
color during the ten-year period preceding this action.

12. There is no indication that the County employs any voting procedures or
methods of election which inhibit or dilute equal access to the electoral process
by the County’s minority citizens. There is no indication that in the past ten
years any persons in Washington County have been subject to intimidation or
harassment in the course of exercising their right to participate in the political
process. The County has engaged in constructive efforts over the years to
enhance registration and voting opportunities for all of its citizens of voting
age in a variety of ways. Voter registration opportunities in the County are
readily and equally available to all citizens. The voter registration office is
open 9:00 a.m. to 5:00 p.m. weekdays. In addition, the Washington County
Voter Registrar works with numerous organizations that conduct voter
registration drives, such as: the League of Women Voters; two local college
campuses; Washington County School Board (registering high school
students); community civic groups; the local Democratic and Republican
Parties; and local candidates. Voters in Washington County may also register
by mail, and voter registration applications are available at locations

convenient to voters throughout the County. In addition, voter registration is
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offered at the Washington County Department of Health, Department of Social
Services, Department of Rehabilitative Services, Department of Mental Health,
Mental Retardation and Substance Abuse Services, Department for the Blind
and Vision Impaired, the Virginia Office for Protection and Advocacy,
Regional Offices of the Department of Game and Inland Fisheries, the Armed
Forces Recruitment Offices, Department of Deaf and Hard of Hearing, and any
other agencies whose primary function is to provide state-funded assistance to
persons with disabilities. The opportunity to become a registered voter in
Washington County is also available under the National Voter Registration Act
(the “NVRA”) at the Department of Motor Vehicles (“DMV’’) offices and at
all public assistance agencies in Washington County. The opportunities for
persons to register to vote in Washington County have been made more
convenient and available as a result of implementation of the NVRA.

13. Since the County, like other jurisdictions in Virginia, does not record the race
of its registered voters, it is unable to present evidence directly measuring
minority voter participation. Current data show, however, that a significant
proportion of the County’s voting age population is registered to vote. As of
February 2008, there were 33,401 registered voters in Washington County,
approximately 82.5% of the voting age population. The number of registered
voters in the County has steadily risen over the last ten years. In 1998, for
example, there were 26,976 registered voters in the County. By 2003. the
number of registered voters had grown to 30,905. The number of registered

voters in the County has continued to grow. As of February 2008, the number
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of registered voters in the County had increased to 33,401. Thus, from 1998 to
2008, the total number of registered voters in the County has increased 24%
(from 26,976 in 1998 to 33,401 in 2008). Voter turnout in elections within
Washington County (7.e., the percentage of those registered voters who cast
ballots) varies according to the offices up for election. In the last two
Presidential elections (2000 and 2004), for example, 69.6% and 70.1% of the
County’s registered voters turned out to vote, respectively. In the General
Elections for state and county offices held in November 1999, 2001, 2003,
2005, and 2007, 44.7%, 49.6%, 31.9%, 48.2%, and 38.54% of the County’s
registered voters turned out to vote, respectively. Voter turnout was 53.9% for
the November 2006 General Election.

14. The County has not engaged, within the ten years prior to the commencement
of this action, in any violations of the Constitution or laws of the United States
or any State or political subdivision with respect to discrimination in voting on
account of race or color.

15. The County has publicized the intended commencement and proposed
settlement of this action in the media and in appropriate United States post
offices as required under 42 U.S.C. § 1973(b)(a)(4). No aggrieved party has
sought to intervene in this action pursuant to 42 U.S.C. § 1973(b)(a)(4).

Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:
1. The Plaintiff, Washington County, Virginia is entitled to a
declaratory judgment in accordance with Section 4(a)(1) of the

Voting Rights Act, 42 U.S.C. § 1973(b)(a)(1);
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Entered this

The parties’ Joint Motion for Entry of Consent Judgment and
Decree is GRANTED, and Washington County, including the
Towns of Abingdon, Damascus, Glade Spring, and that portion of
Saltville that lies within Washington County, shall be exempt from
coverage pursuant to Section 4(b) of the Voting Rights Act, 42
U.S.C. § 1973b(b), provided that this Court shall retain jurisdiction
over this matter for a period of ten years. This action shall be
closed and placed on this Court’s inactive docket, subject to being
reactivated upon application by either the Attorney General or any
aggrieved person in accordance with the procedures set forth in 42
U.S.C. § 1973b(a)(5).

The parties shall bear their own costs.

day of , 2008.

UNITED STATES CIRCUIT JUDGE

UNITED STATES DISTRICT JUDGE

UNITED STATES DISTRICT JUDGE
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Approved as to form and content:

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